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                                   No. 24-1939 (L)

                           United States Court of Appeals
                               for the Fourth Circuit
                                  ________________
            ABBVIE, INC., (a Delaware corporation); ALLERGAN, INC., (a
         Delaware corporation); DURATA THERAPEUTICS, INC., (a Delaware
          corporation); ABBVIE PRODUCTS LLC, (a Georgia limited liability
          company); APTALIS PHARMA US, INC., (a Delaware corporation);
           PHARMACYCLICS LLC, (a Delaware limited liability company);
           ALLERGAN SALES, LLC, (a Delaware limited liability company),
                                Plaintiffs - Appellants,
                                          and
                NOVARTIS PHARMACEUTICALS CORPORATION;
            PHARMACEUTICAL RESEARCH AND MANUFACTURERS OF
               AMERICA; ASTRAZENECA PHARMACEUTICALS LP,
                                Plaintiffs,
                                           v.
         ANTHONY G. BROWN, in his official capacity as Attorney General of
             the State of Maryland; KRISTOPHER RUSINKO, in his official
            capacity as Board President of the Maryland Board of Pharmacy;
          DAPHANIE ROBINSON, in her official capacity as a member of the
            Maryland Board of Pharmacy; ADETORO ORIAIFO, in his official
         capacity as a member of the Maryland Board of Pharmacy; KRISTEN
          FINK, in her official capacity as a member of the Maryland Board of
          Pharmacy; KAREN SLAGLE, in her official capacity as a member of
          the Maryland Board of Pharmacy; BRENDA OLIVER, in her official
           capacity as a member of the Maryland Board of Pharmacy; KARLA
         EVANS, in her official capacity as a member of the Maryland Board of
         Pharmacy; JAVIER VAZQUEZ, in his official capacity as a member of
            the Maryland Board of Pharmacy; AKESH PATEL, in his official
           capacity as a member of the Maryland Board of Pharmacy; KEVIN
         MORGAN, in his official capacity as a member of the Maryland Board
           of Pharmacy; JENNIFER HARDESTY, in her official capacity as a
            member of the Maryland Board of Pharmacy; PEGGY GLASCOE
USCA4 Appeal: 24-1939   Doc: 49    Filed: 03/31/2025   Pg: 2 of 67




         GEIGHER, in her official capacity as a member of the Maryland Board
         of Pharmacy; NEIL LEIKACH, in his official capacity as a member of
              the Maryland Board of Pharmacy; MARYLAND BOARD OF
                             PHARMACY/PRESIDENT,
                               Defendants - Appellees.

                                      No. 24-1949
                  NOVARTIS PHARMACEUTICALS CORPORATION,
                                  Plaintiff - Appellant,
                                           and
            ABBVIE, INC., (a Delaware corporation); ALLERGAN, INC., (a
         Delaware corporation); DURATA THERAPEUTICS, INC., (a Delaware
          corporation); ABBVIE PRODUCTS LLC, (a Georgia limited liability
          company); APTALIS PHARMA US, INC., (a Delaware corporation);
           PHARMACYCLICS LLC, (a Delaware limited liability company);
           ALLERGAN SALES, LLC, (a Delaware limited liability company);
           PHARMACEUTICAL RESEARCH AND MANUFACTURERS OF
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                                    Plaintiffs,
                                            v.
         ANTHONY G. BROWN, in his official capacity as Attorney General of
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         MORGAN, in his official capacity as a member of the Maryland Board
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          of Pharmacy; JENNIFER HARDESTY, in her official capacity as a
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         GEIGHER, in her official capacity as a member of the Maryland Board
         of Pharmacy; NEIL LEIKACH, in his official capacity as a member of
              the Maryland Board of Pharmacy; MARYLAND BOARD OF
                             PHARMACY/PRESIDENT,
                               Defendants - Appellees.

                                    No. 24-1978
            PHARMACEUTICAL RESEARCH AND MANUFACTURERS OF
                               AMERICA,
                           Plaintiff - Appellant,
                                    and
            ABBVIE, INC., (a Delaware corporation); ALLERGAN, INC., (a
         Delaware corporation); DURATA THERAPEUTICS, INC., (a Delaware
          corporation); ABBVIE PRODUCTS LLC, (a Georgia limited liability
          company); APTALIS PHARMA US, INC., (a Delaware corporation);
           PHARMACYCLICS LLC, (a Delaware limited liability company);
           ALLERGAN SALES, LLC, (a Delaware limited liability company);
         NOVARTIS PHARMACEUTICALS CORPORATION; ASTRAZENECA
                             PHARMACEUTICALS LP,
                                    Plaintiffs,
                                           v.
         ANTHONY G. BROWN, in his official capacity as Attorney General of
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          the Maryland Board of Pharmacy; BRENDA OLIVER, in her official
           capacity as a member of the Maryland Board of Pharmacy; KARLA
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         Pharmacy; JAVIER VAZQUEZ, in his official capacity as a member of
            the Maryland Board of Pharmacy; AKESH PATEL, in his official
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          capacity as a member of the Maryland Board of Pharmacy; KEVIN
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         GEIGHER, in her official capacity as a member of the Maryland Board
         of Pharmacy; NEIL LEIKACH, in his official capacity as a member of
              the Maryland Board of Pharmacy; MARYLAND BOARD OF
                             PHARMACY/PRESIDENT,
                               Defendants - Appellees.
                                  __________________
                    On Appeal from the United States District Court
                            for the District of Maryland,
                                No. 1:24-cv-01557-MJM
                              Judge Matthew J. Maddox
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                                     INTRODUCTION
              The 340B statute sets out an exclusively federal scheme that

        determines when the 340B price must be offered and to whom. The

        statute also further mandates an enforcement regime meant to be

        enforced by the federal government—and the federal government alone,

        as the Supreme Court has held. Astra USA, Inc. v. Santa Clara Cnty.,

        563 U.S. 110, 120-21 (2011). The State’s response brief sidesteps the

        governing text of the 340B statute and disregards key undisputed facts

        in an attempt to save its constitutionally defective statute.

              Most fundamentally, the State ignores the principal provision of the

        federal statute creating drug manufacturer obligations to sell at 340B

        prices.   Congress provided in 42 U.S.C. §256b that, in exchange for

        participating in Medicaid and Medicare Part B, drug manufacturers

        must “offer” to sell certain drugs at steeply reduced 340B prices. The

        scope of that required “offer”—and what terms it must include—is solely

        a question of federal law.

              The D.C. Circuit settled that question in Novartis Pharmaceuticals

        Corp. v. Johnson, explaining that a federal offer must be bona fide and

        can include reasonable conditions, including as to delivery. 102 F.4th
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        452, 462-64 (D.C. Cir. 2024). The decision further established that the

        same conditions at issue here—a one contract-pharmacy condition and a

        claims data condition—are both permissible. Id. at 463. If a covered

        entity does not accept the manufacturer offer with these permissible

        conditions, there is no 340B purchase under federal law and no

        manufacturer obligation to provide 340B pricing arises. The scope of the

        federal offer thus defines the scope of manufacturers’ 340B obligations.

              This is important because it reveals exactly what H.B. 1056

        attempts to do: circumvent the D.C. Circuit’s holding about permissible

        conditions on a federal 340B offer. By requiring manufacturers to make

        offers broader than those required under federal law, Maryland forces

        manufacturers to enter a wide range of 340B-priced transactions not

        mandated by 340B. Opp. 48 (conceding that H.B. 1056 increases the

        volume of covered entities’ purchases of 340B-priced drugs). H.B. 1056

        thus directly interferes with and vastly expands the scope of the detailed

        statutory program Congress created and radically changes the careful

        balance Congress struck.     This fundamental point makes clear why

        Appellants’ claims are likely to succeed.




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              Start with field preemption. Despite H.B. 1056’s plain text, which

        regulates the “acquisition” of 340B drugs, the State contends that

        H.B. 1056 regulates only “delivery” and thus is outside the broad scope

        of Section 340B. The reality is that H.B. 1056 is not about delivery at all,

        but price. The drugs are already being delivered to pharmacies; what the

        Maryland law mandates is that they be delivered to those commercial

        pharmacies at the 340B price. If a manufacturer denies the 340B-reduced

        pricing to one of these commercial pharmacies for reasons federal law

        permits—diversion, for example—the manufacturer still faces Maryland

        penalties, and Maryland would need to make determinations of uniquely

        federal law issues to proceed. Maryland’s law thereby demands that

        manufacturers make much more than the federally mandated “bona fide”

        offer—or face a state enforcement scheme and overlaid penalties that

        Congress did not contemplate.        That trespasses into the exclusive

        territory of Section 340B.

              On conflict preemption, the State fares no better.          In 340B,

        Congress struck a careful balance between burdening manufacturers,

        thereby discouraging innovation, and providing access to reduced-price

        drugs. Though Maryland claims to be pursuing the same end, it cannot


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        intrude on Congress’s scheme. H.B. 1056 greatly increases the costs of

        participation in 340B. It distorts Congress’s careful balance by forcing

        manufacturers to offer their drugs for little-to-no cost to a vastly

        increased number of entities and transactions, and on any terms that

        covered entities might prefer. Maryland’s law also throws a wrench in

        Section 340B’s comprehensive enforcement scheme, which Congress

        placed in the exclusive care of the federal government.

              On AbbVie’s takings claim, the State has no convincing answer. It

        avoids the reality that H.B. 1056 compels a physical transfer of property

        by arguing that Section 340B is the real culprit and by pointing out that

        H.B. 1056 does not compel direct sales to contract pharmacies. None of

        these points camouflage H.B. 1056’s unquestioned effect: the law directly

        undermines AbbVie’s authority to dictate reasonable, non-price terms to

        its federally mandated offer and thereby forces AbbVie to transfer low-

        cost drugs to contract pharmacies without limit. The State likewise tries

        to frame its confiscatory law as “voluntary” because AbbVie participates

        in the federal 340B program. That logic would appear to provide states

        carte blanche to leverage away the constitutional rights of all




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        participants in federal programs. This Court should not endorse such a

        sweeping and unprecedented claim of state power.

              Finally, Maryland’s response highlights the two separate ways H.B.

        1056 violates the dormant Commerce Clause. First, Maryland does not

        dispute the record showing that manufacturers make 340B pricing

        available through a series of out-of-state intermediaries. By seeking to

        dictate when and how manufacturers must provide those price

        reductions, Maryland has necessarily sought to improperly regulate

        commerce occurring outside the State. Second, Maryland itself admits

        that H.B. 1056 was designed to protect the economic interests of in-state

        340B entities and their business partners. This intention erects a type

        of economic protectionism that, as the Supreme Court has emphasized,

        runs counter to the very core of the dormant Commerce Clause.

              Because the State has no legitimate interest in enforcing its

        unconstitutional regime, which will inflict substantial irreparable harms

        on Appellants while doing nothing for patients in Maryland, this Court

        should reverse the district court and preliminarily enjoin H.B. 1056.




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                                     ARGUMENT
        I.    APPELLANTS’ PREEMPTION CLAIMS ARE LIKELY TO SUCCEED ON
              THE MERITS.

              Appellants are likely to succeed on their preemption claims. The

        State offers no persuasive responses to the contrary.1

              A.   H.B. 1056 Is Field Preempted.

              Maryland’s law improperly regulates conduct in a field that

        Congress “has determined must be regulated by its exclusive

        governance.” Arizona v. United States, 567 U.S. 387, 399 (2012).

              The State does not dispute that Section 340B preempts—at a

        minimum—the “field” of 340B drug pricing. Opp. 30. Instead, the State

        argues that H.B. 1056 survives because federal law does not preempt the

        “field of delivery of 340B drugs.” Opp. 29, 33 n.14. That framing has two

        flaws. First, it fails on its own terms; H.B. 1056 regulates the price at

        which 340B manufacturers must provide their drugs.             Second, it



        1 The State relies extensively on the Eighth Circuit’s noncontrolling
        decision in PhRMA v. McClain, 95 F.4th 1136 (8th Cir. 2024), including
        quoting McClain’s conclusions as fact, e.g., Opp. 7, and embarking on
        multi-page descriptions that far exceed McClain’s own scant reasoning,
        e.g., Opp. 30-33. But as Appellants’ opening brief explained, McClain
        relied on key assumptions that render its analysis unhelpful here. See
        Br. §I.D., 56-60.


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        artificially narrows the “field” that Congress’s comprehensive 340B

        Program preempts.

                      1.    H.B. 1056 Regulates 340B Drug Pricing.

              The State’s argument hinges on the fiction that H.B. 1056 regulates

        only “delivery” of 340B drugs. But Maryland’s law in fact regulates 340B

        pricing. That should end the case: No one disputes that federal law

        preempts state 340B pricing regulations.

              Under H.B. 1056, drug manufacturers cannot “deny, restrict,

        prohibit … or otherwise limit” contract pharmacies from either

        “acqui[ring]” or receiving “delivery” of “340B drugs”—drugs that the

        statute defines by reference to their discounted price. Md. Code, Health

        Occ. §12-6C-09.1(a)(4), (c)(1).   So, as a textual matter, the statute

        regulates “acquisition” or “delivery” of drugs at a particular price.

              H.B. 1056’s real-world application confirms this: Maryland does

        not dispute that even now manufacturers deliver their drugs to contract

        pharmacies whenever asked. The sole question the statute addresses is

        at what price those deliveries are made. Manufacturers face liability

        under H.B. 1056 unless they provide the 340B price for those same

        deliveries.



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              The Southern District of West Virginia reached that same

        conclusion when preliminarily enjoining a virtually identical state law.

        PhRMA v. Morrisey, 2024 WL 5147643, at *8-9 (S.D. W. Va. Dec. 17,

        2024). Morrisey noted that, like here, manufacturers “already deliver”

        their “drug products to contract pharmacies” throughout the state. Id. at

        *9.   So, a manufacturer risks violating the challenged law “not by

        withholding drugs from contract pharmacies, but by refusing the 340B

        discount when delivering its drugs to those pharmacies.” Id. Thus, the

        law necessarily “regulates price, not delivery.” Id. at *8.

              The State dismisses Morrisey’s logic as an “anomaly.” Opp. 40-42.

        But earlier in this litigation, Maryland itself used the same logic to

        concede that H.B. 1056 regulates price.          JA252.     Only later, after

        realizing that such an admission destroyed its case, did the State

        backtrack. See JA841. Now, the State defends its “delivery, not pricing”

        position by stressing that H.B. 1056 regulates only 340B transactions—

        i.e., purchases made by (or in the name of) a covered entity. Opp. 42-43

        & n.18, 49. In Maryland’s telling, H.B. 1056 “does not regulate purchases

        (at any price) by pharmacies on their own account.” Id. at 43.




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              This is a non sequitur. The problem with H.B. 1056 is not that it

        regulates pharmacies unconnected to the 340B Program—the problem is

        that Maryland seeks to dictate when and how manufacturers must give

        effect to the federally prescribed price. And, on that point, Maryland’s

        distinction means nothing in practice.          Contract pharmacies do not

        differentiate between drugs that they purchase directly and 340B drugs

        that are nominally purchased through a covered entity. Pharmacies

        order and receive regular shipments of all drugs, take title to them, stock

        them on unsegregated shelves, then dispense them to patients at

        commercial prices—regardless of whether the patient’s provider is a

        covered entity. JA174-176. Only later, on the back end, do contract

        pharmacies (aided, of course, by third-party administrators who also

        have their thumbs in the pie) estimate how many previously dispensed

        drugs may have been eligible for 340B pricing (a contention impossible to

        question or rebut, without access to claims data).               Id.   Then the

        pharmacy—not the covered entity—typically orders “replenishment”




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        drugs at 340B prices using the covered entity’s account details.2 Id.

        Covered entities play little to no role in this process; sometimes, they do

        not even know contract pharmacies ordered drugs on their behalf.

        JA176-177.3

              Perhaps recognizing that its case rests on an untenable distinction,

        the State tries a different tack: It suggests that if the above-described

        practice violates Section 340B’s federal prohibition on diversion,

        manufacturers should just comply with H.B. 1056 and then deal with

        diversion at the federal dispute resolution process. Opp. 43, 49-50. But

        that argument only confirms H.B. 1056 is preempted, both as a practical




        2 The State asserts (without support) that contract pharmacies and
        covered entities sometimes use a “pre-purchased” inventory model. Opp.
        8 n.6, 42 n.17. Even if that were sometimes true, it does not change the
        fact—which no party disputes—that the above-described “product
        replenishment model” dominates the 340B landscape.
        3 Contract pharmacies often do not act as “agents” of covered entities, as

        both the district court and McClain wrongly assumed. JA177. The State
        argues this is “irrelevant” to Appellants’ “facial challenge” so long as some
        pharmacies do act as agents. Opp. 57. But that line of reasoning “makes
        little sense” in the preemption context—it “would reject a conflict
        preemption claim in a facial challenge whenever a defendant can conjure
        up just one hypothetical factual scenario in which implementation of the
        state law would not directly interfere with federal law.” Morrisey, 2024
        WL 5147643, at *13 (citation omitted).


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        matter and as a legal matter. As a practical matter, the State makes no

        attempt to explain how this could possibly work on the ground; will it

        pause state enforcement proceedings while the necessary federal

        questions underlying those proceedings are litigated? And as a legal

        matter, States cannot pass laws that directly facilitate federal violations,

        leaving a bigger mess for federal authorities to clean up.

              Finally, the State’s characterization of H.B. 1056 as a mere delivery

        regulation is impossible to square with the law’s dramatic financial

        impact. As the State emphasizes, its so-called “delivery” law significantly

        increases the revenue covered entities and contract pharmacies obtain at

        manufacturers’ expense. See Opp. 10, 46 n.19. Indeed, that is the whole

        point.   Id. at 47.       That financial impact does not derive from

        manufacturers’ obligation to deliver drugs to a different location: it

        derives from the delta between 340B pricing and commercial pricing

        when manufacturers are forced to deliver more discounted drugs to

        entities that are not entitled to receive them.

              H.B. 1056 is no “delivery” regulation. It regulates 340B pricing and

        enables contract pharmacies—that are not authorized by the Program—




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        to benefit from that pricing—topics even the State agrees lie in solely

        federal hands.

                   2.     H.B. 1056 Invades The Field By Attempting To
                          Redefine Manufacturers’ 340B Offers.

              The question of what reasonable conditions a drug manufacturer

        may impose under federal law also defines the scope of a manufacturer’s

        obligation to provide 340B pricing, an arena H.B. 1056 invades. 42

        U.S.C. §256b(a)(1).        Under federal law, manufacturers may place

        reasonable conditions on their 340B offers, including claims data and

        contract pharmacy conditions. Novartis, 102 F.4th at 463-64; see also

        Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 704 (3d Cir. 2023).

              A covered entity that receives an “offer” can either “assent to the

        same terms” and “purchase” the drugs at the federal 340B price, or it can

        reject the 340B offer and purchase drugs at a commercial price. Novartis,

        102 F.4th at 460; see also Sanofi, 58 F.4th at 703 (same).           The

        Congressional mandate does not “require the offeror to accede to any

        distribution terms demanded by the offeree.” Novartis, 102 F.4th at 461;

        Sanofi, 58 F.4th at 703.

              H.B. 1056 wades into that federal offer regime, imposing

        Maryland’s own desired terms. Although H.B. 1056 adopts the text of

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        the federal statute’s “shall offer” provision in its definition of “340B drug,”

        Maryland then substitutes its own view of what that provision actually

        means. Md. Code, Health Occ. §12-6C-09.1(a)(4)(i). That reworking of

        the federal offer falls within the heartland of the federal field.

                    3.      Section 340B Preempts State-Law Efforts To
                            Regulate 340B-Specific Conduct.

              Regardless, the State would lose even if H.B. 1056 solely regulated

        conditions (like delivery) that manufacturers may attach to their 340B

        offers. Section 340B establishes a comprehensive program with a finite

        set of obligations, eligibility criteria, and enforcement mechanisms. Any

        state regulation that expressly targets the 340B Program—such as by

        imposing new 340B-specific obligations—encroaches upon the federally

        preempted field. So contrary to the State’s claims, 340B clearly does

        preempt the field of 340B drug delivery, 340B pricing, and anything else

        specific to 340B.

              I.   States cannot regulate Congress’s creations.          McCulloch v.

        Maryland, 17 U.S. 316 (1819). But that is precisely what Maryland is

        doing here. Its brief ignores the fact that H.B. 1056 targets conduct that

        exists solely because of 340B and could not exist without the federal

        program. It does not involve Maryland’s general police power to regulate

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        the fields of pharmacy, drug delivery, or even affordable drug pricing. By

        the State’s own framing, its own law exclusively regulates a federally

        created category of conduct: the terms of a 340B offer.4 Opp. 38-39.

              Put simply, Maryland is bootstrapping a federal program. In the

        State’s view, 340B—which imposes no contract-pharmacy obligations or

        claims data restrictions—did not go far enough.            See Opp. 46-47.

        Maryland    thus   added   (without      Congressional    permission)   new

        requirements to expand Congress’s program. Opp. 26. That is a textbook

        preemption problem.

              Similarly, the State’s efforts to distinguish Arizona backfire. Opp.

        35-36. As the State observes, Arizona concerned the field of immigration,

        over which the federal government wields broad power. 567 U.S. at 394.

        But if anything, the federal government’s power over its own programs is

        even more defined. Unlike immigration, the 340B Program would not

        exist as a canvas for state regulation absent federal legislation.



        4 Thus, the State’s reliance on the “presumption against preemption” is

        misplaced. Opp. 23-29. A State does not act within its historic police
        power—and is not entitled to the presumption—when it regulates a
        category of conduct created by federal law. Buckman Co. v. Plaintiffs’
        Legal Comm., 531 U.S. 341, 347-48 (2001).


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        Regardless, this Court and others have applied Arizona’s principles

        beyond immigration. See, e.g., Am. Petroleum Inst. v. Cooper, 718 F.3d

        347, 354-56, 359 (4th Cir. 2013) (energy); In re Volkswagen “Clean Diesel”

        Mktg., Sales Pracs. & Prods. Liab. Litig., 959 F.3d 1201, 1212 (9th Cir.

        2020) (emissions); Teltech Sys., Inc. v. Bryant, 702 F.3d 232, 238-39 (5th

        Cir. 2012) (fraudulent calls).

              II. Instead of grappling with that problem, the State points to

        Congress’s “silence” about contract-pharmacy requirements, asserting

        states can regulate in “the area of 340B drug delivery.” Opp. 12, 19, 31,

        37-38, 44. That reflects a misunderstanding of the 340B Program.

              Although     340B    may   not    reference     “delivery”     to   contract

        pharmacies, it speaks to the issue in several ways. First, it makes clear

        manufacturers have no responsibilities vis-à-vis contract pharmacies.

        Second, by imposing a bona fide offer requirement and dictating only the

        price term, Congress preserved manufacturers’ flexibility to set other

        reasonable terms, including those concerning delivery. Novartis, 102

        F.4th at 463-64. Third, it provided HHS and federal courts with a tool to

        assess   exactly   what    delivery-related,      reasonable      conditions   are

        appropriate. Id. at 460-64. Congress did not leave a space for states to


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        impose their own preferred requirements. Teltech, 702 F.3d at 238-39.

              Start with common ground. The State concedes (as it must) that

        the 340B Program does not obligate manufacturers to honor covered

        entities’ delivery demands or other non-price terms. Opp. 37-38; see

        Sanofi, 58 F.4th at 702-07; Novartis, 102 F.4th at 460-64. And the State

        does not suggest Congress’s choice to omit them was somehow an

        oversight.      See Opp. 38, 51-52; Sanofi, 58 F.4th at 704 (concluding

        Congress     acted    “intentionally”    by   omitting     contract-pharmacy

        obligations).      The State errs, however, by construing Congress’s

        purported “silence” as an open door.

              As the Astra Court explained, the 340B Program makes

        participation a prerequisite for manufacturers’ participation in other

        federal healthcare programs—so what 340B does not require is just as

        important as what it does require. See Novartis, 102 F.4th at 460. In

        other words, the 340B Program is an ostensibly voluntary scheme where

        manufacturers agree to a specific set of obligations. By adding an extra

        obligation, H.B. 1056 changes the terms of Congress’s deal. Congress did

        not silently invite states to append requirements to its Program.




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              The State’s other arguments also fail.        For instance, the State

        contends the 340B Program is not sufficiently “comprehensive” or

        “pervasive” for preemption purposes because it specifies the “price” term

        for 340B offers without saying anything about other terms, like delivery,

        payment methods, dispute resolution, and limitation of liability. Opp.

        31, 39. The State is incorrect that the 340B statute reaches none of those

        items: it regulates payment methods, see 42 U.S.C. §256b(a)(1) (providing

        for a “rebate” or “discount”), dispute resolution, id. §256b(d)(3), and

        “delivery”—at least in the sense that the State uses the term—by

        addressing what price must be extended to which entities, id. §256b(a)(1),

        (a)(4). And even if the State were correct that the statute does not reach

        these terms, that simply means Congress intentionally decided not to

        impose them as a condition of participating manufacturers’ eligibility for

        Medicaid and Medicare Part B.

              Next, the State turns to Section 340B’s statutory title. Opp. 40. Per

        the State, Congress’s inclusion of the term “Limitation on Prices of

        Drugs” in the title “confirms” 340B narrowly regulates price. Id. But the

        statute undeniably reaches many issues other than just price, although

        drug pricing is the defining characteristic of H.B. 1056.


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              III.      H.B. 1056’s enforcement provisions—which authorize

        Maryland officials to police 340B participation through civil and criminal

        penalties in Maryland tribunals—present their own field-preemption

        problem.     Congress vested the federal government with exclusive

        authority to “oversee compliance with the 340B Program.” Astra, 563

        U.S. at 117. After all, Congress desired “centralized enforcement in the

        government” and hoped to administer 340B “harmoniously and on a

        uniform, nationwide basis.” Id. at 119-20. That decision is impossible to

        reconcile with allowing every state to add 340B requirements and enforce

        them in state tribunals.

              Maryland gives it a shot anyway. It urges this Court to “narrow[ly]”

        consign Astra—a unanimous Supreme Court decision that is barely a

        decade old—to its specific facts. Opp. 34-35. The State claims Section

        340B vests federal agencies with exclusive enforcement jurisdiction over

        only a certain segment of 340B disputes—those involving “pricing,

        overcharges, refunds, and diversion”—whereas Maryland wields power

        over other 340B disputes. Opp. 32-33.

              That is wrong: HHS has extended the federal dispute resolution

        process to any “claims that a manufacturer has limited the covered


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        entity’s ability to purchase covered outpatient drugs at or below the 340B

        ceiling price.” 42 C.F.R. §10.21(a)(1); see also 89 Fed. Reg. 28643, 28649

        (Apr. 19, 2024).5    That plainly encompasses what Maryland’s law

        purports to do: H.B. 1056 “prevent[s] 340B drug manufacturers from

        taking actions ‘to limit or restrict the acquisition or delivery of a 340B

        drug,’” Opp. 13, thereby “eliminating a roadblock to the completion of

        drug sales to covered entities at federally mandated discounted prices,”

        id. at 54. The distinction Maryland seeks to draw does not exist.

              Finally, the State’s argument disregards the significant overlap

        between H.B. 1056 and 340B that Maryland built into its law. If there is

        no federal duty to “offer” the 340B price (for example, if the prescription

        written does not fall within 340B’s bounds), H.B. 1056’s requirements are

        not triggered. Md. Code, Health Occ. §12-6C-09.1(d); Md. Code, Com.

        Law §13-411.     The State provides no explanation of how a state




        5 Covered entities have also asserted that the federal process addresses

        these issues. See JA139-153; Petition ¶1, Open Door Cmty. Health Ctrs.
        v. AstraZeneca Pharms., LP, ADR ID: 210112-1 (Jan. 13, 2021), available
        at     https://strategichealthcare.net/wp-content/uploads/2021/01/340B-
        Petition.pdf.




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        decisionmaker could skip that first step. But cf. Hr’g Tr. at 74:19-77:13,

        ECF No. 56, PhRMA v. Morrisey, No. 2:24-cv-00271 (S.D. W. Va. Sept.

        16, 2024) (West Virginia acknowledging adjudications of West Virginia’s

        340B law would require answering federal questions and acknowledging

        federal process should be used for those).

              It is inevitable that manufacturers will raise federal defenses in

        state proceedings and inevitable that Maryland will have to adjudicate

        them. That will infringe on the federal agency’s ability to render uniform

        nationwide decisions. Astra, 563 U.S. at 119-20. H.B. 1056’s enforcement

        scheme, like its substantive contract-pharmacy obligation, improperly

        intrudes on a federally preempted field.

              B.   H.B. 1056 Conflicts With The Federal 340B Program.

              H.B. 1056 is also conflict preempted because it “stands as an

        obstacle to the accomplishment and execution of the full purposes and

        objectives of Congress.” Arizona, 567 U.S. at 399. First, it fundamentally

        alters the bargain Congress struck in 340B. See Novartis, 102 F.4th at

        460-64; Sanofi, 58 F.4th at 704-06. Second, H.B. 1056 conflicts with

        340B’s centralized enforcement scheme, by wresting adjudicatory

        authority over 340B away from HHS and barring manufacturers from



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        collecting the very information (claims data) that is needed for

        manufacturers to use the federal scheme.

              The State’s arguments to the contrary do not ameliorate those

        conflicts.

                     1.    H.B. 1056 Upends The Bargain Congress Struck in
                           340B.

              Maryland frustrates Congress’s judgment by altering the terms of

        the federal offer and requiring manufacturers to provide 340B-priced

        drugs in circumstances Congress did not require.

              340B is a federal incentive program, whereby Congress mandated

        that one private party provide a benefit to another private party to

        participate in other federal programs.      Congress told manufacturers

        when, and under what conditions, they were required to provide the 340B

        ceiling price. Novartis, 102 F.4th at 460-64; Sanofi, 58 F.4th at 704-05.

        Manufacturers are required only to make a “bona fide” offer, which can

        include reasonable conditions such as one contract pharmacy and claims

        data policies. Novartis, 102 F.4th at 462-64. If a covered entity, or a

        contract pharmacy purporting to act on its behalf, does not accept an offer

        with those terms, there is no qualifying “purchase” under 42 U.S.C.

        §256b(a)(1) and no 340B price obligation.

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              H.B. 1056 upends all of that. It forces manufacturers to provide the

        340B price even where a covered entity has not assented to the terms of

        a manufacturer’s federal offer. The only way H.B. 1056 can mandate that

        manufacturers provide the 340B price is by running afoul of 340B’s

        limitation that the federal pricing only applies where there is a qualifying

        “purchase.” In doing so, it forces manufacturers to provide many more

        340B-priced drugs than Congress required, skewing 340B’s balance.

              The State does not dispute that H.B. 1056 imposes a substantial

        extra burden on manufacturers. But in the State’s view, that burden is

        “not relevant” because “protecting manufacturers” was not Congress’s

        objective. Opp. 53. The State argues H.B. 1056 fosters 340B’s purpose

        because it “increase[s] the volume of covered entities’ purchases of 340B

        drugs” and provides “covered entities with additional funds.” Opp. 45-

        48.

              That essentially makes Appellants’ point—Maryland is displeased

        with the bargain Congress struck and wants to rewrite 340B according

        to its own preferences. But 340B’s text demonstrates that Congress

        struck a careful balance between multiple competing interests. Congress

        wanted to ensure certain healthcare providers could obtain below-market


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        prices on drugs.     At the same time, it needed to incentivize drug

        manufacturers to participate in the ostensibly voluntary Program.

        Congress thus defined the Program’s scope and obligations broadly

        enough to meet its goals of benefitting particular providers but narrowly

        enough to prevent overburdened manufacturers from withdrawing from

        the Program altogether. Morrisey, 2024 WL 5147643, at *6 (holding 340B

        has “twin federal purposes” of providing discounts to covered entities and

        protecting manufacturers).    That limited scope is “no less a part” of

        Congress’s “purpose” than its substantive end goal of drug price

        reductions.     Rapanos v. United States, 547 U.S. 715, 752 (2006).

        Maryland obstructs Congress’s purpose by skewing that balance and

        emphasizing only one of 340B’s ends to the exclusion of the other.

              PhRMA v. Walsh, 538 U.S. 644 (2003) is not to the contrary. The

        State misleadingly cites Walsh for the proposition that a state law’s

        “impact on manufacturers” is “not relevant” to preemption when it helps

        produce Medicaid savings. Opp. 53. But Walsh concerned a completely

        different scheme. And more importantly, the State neglects to mention

        (or signal) only three justices signed onto that portion of Walsh. See 538

        U.S. at 668 (Stevens, J., joined by Souter and Ginsburg, J.J.). Moreover,


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        in this context, the federal government itself has urged courts to reject “a

        one-sided characterization of the purpose of the 340B Program,” that

        “impl[ies] that it exists for [covered entities] to maximize [their] revenues

        and dispense drugs to as many individuals as possible.” Cross-MSJ at

        27, Genesis Health Care Inc. v. Becerra, No. 4:19-cv-01531 (D.S.C. July

        28, 2023), ECF No. 101.

              Even if the State’s cabined vision of Congress’s purpose were

        correct, it ignores that “no legislation pursues its purposes at all costs,”

        and “wider distribution is not necessarily better” in this regime.

        Novartis, 102 F.4th at 462; Novartis Pharms. Corp. v. Espinosa, 2021 WL

        5161783, at *7 (D.D.C. Nov. 5, 2021) (explaining limitations on covered

        entities and inclusion of anti-fraud provisions indicate “that Congress did

        not intend Section 340B’s purpose to be pursued at all costs”).

              The State also mischaracterizes H.B. 1056’s usefulness.            For

        example, it deems H.B. 1056 critical for homebound patients hoping to

        access 340B drugs because other Maryland laws prevent doctors from

        dispensing mail-order prescriptions.      Opp. 47.    That is a problem of

        Maryland’s own making—not a justification for H.B. 1056. The State

        also wrongly implies Appellants will deprive a covered entity of 340B


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        drugs if that covered entity lacks an in-house pharmacy. See Opp. 25-26,

        46; id. at 68. To be clear, the manufacturer policies at issue do not

        prevent such covered entities from directing delivery to one local contract

        pharmacy of their choice. E.g., JA193.

                   2.    H.B. 1056 Clashes With                The        Federal   340B
                         Enforcement Scheme.

              H.B. 1056 also interferes with Congress’s desire for a single, unified

        340B enforcement scheme. By setting up its own enforcement scheme

        that would address complex, federal issues and impose penalties not

        contemplated by Congress, H.B. 1056 conflicts with the federal

        enforcement mechanism.         H.B. 1056 also conflicts with the intended

        exclusive federal enforcement scheme by barring manufacturers from

        collecting the very data that they require to access the federal regime.

                         a.       The State’s Own Admissions Confirm That It Is
                                  Wresting Exclusive Enforcement Authority From
                                  The Federal Government.

              Conflict preemption is glaring here because Maryland adjudicators

        must decide a multitude of questions of federal 340B law. The State

        admits its judges must determine in each case whether, for example, a

        “covered entity” purchased the drug, and whether the drug is eligible for

        340B pricing. Opp. 56. Although this should be the end of the inquiry,


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        the State reasons that the federal government “can presumably provide”

        Maryland with access to a real-time, continually updating list of the

        evolving medications eligible for 340B. Id. The State provides no basis

        to believe this is remotely realistic. But the very fact that Maryland

        cannot enforce its own law without the federal government’s help

        underscores the preemption problem.

              Maryland adjudicators must decide even trickier questions, too—

        namely, whether a covered entity is even eligible to receive 340B pricing.

        If, for example, a covered entity engages in “diversion” or other 340B

        violations, it is no longer eligible to benefit from 340B. See 42 U.S.C.

        §256b(a)(5). Manufacturers would, of course, raise that issue as a defense

        where applicable. The resolution of these federal questions raises the

        same concerns identified in Astra, destroying Congress’s intended

        uniformity and creating a “substantial” “risk of conflicting adjudications.”

        563 U.S. at 120.

              The State agrees only the federal government wields authority over

        such issues and argues manufacturers must separately use the federal

        dispute-resolution process to resolve diversion or other concerns. Opp.

        41-42, 49-50. That makes little practical sense. A manufacturer who


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        believes a covered entity is abusing 340B would find itself litigating on

        two separate fronts: Until the federal agency finally resolves these issues,

        the manufacturer would need to repeatedly subject itself to Maryland’s

        criminal and civil sanctions, or agree to honor burdensome (and illegal)

        demands.

              As   the   West      Virginia   court    concluded,    such   overlapping

        enforcement regimes obstruct Congress’s aims.                  The result is a

        hodgepodge of state and federal adjudicators deciding the same purely

        federal questions in inconsistent ways. And that “risk of conflicting

        results cuts against Congress’s vision of ‘centralized enforcement’ that

        Astra found as necessary to execute the 340B Program.” Morrisey, 2024

        WL 5147643, at *11.

                          b.       The State Has No Answer For Its Impediment To
                                   Use Of The Federal Regime.

              While the State repeatedly references the federal enforcement

        regime as a panacea for the problems H.B. 1056 creates, H.B. 1056

        simultaneously erects a roadblock to its use, creating further conflict.

        Claims data policies are key for manufacturers to determine if Congress’s

        limits on 340B are being adhered to by covered entities and as a tool to

        collect the information necessary to utilize the federal enforcement

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        system. H.B. 1056’s bar on the collection of that information stands as

        an “obstacle to achieving the federal objective of preventing fraud in the

        340B Program.” Morrisey, 2024 WL 5147643, at *7.

              The State has no substantive answer on that front. Instead, it says

        only that H.B. 1056 “could not be construed to deny a manufacturer any

        information it is entitled to under federal law.” Opp. 56. That studiously

        avoids taking a position on whether claims data policies are prohibited

        where manufacturers essentially require the information to access the

        federal enforcement regime, but federal law does not affirmatively

        mandate its production. But barring the collection of claims data unless

        federal law requires that it be shared still creates a conflict. Morrisey,

        2024 WL 5147643, at *5-7, *11 n.7 (holding this type of carve-out does

        not “do enough to overcome the obstacle [state law] erects to achieving

        the federal purposes of the 340B Program”).           Manufacturers require

        clarity on this important issue. Given the State’s failure to provide any

        substantive argument on preemption, this Court should consider the

        argument waived and hold that the claims data restriction is preempted.

              Finally, Maryland appears to concede H.B. 1056 does not cover

        claims data policies.     To be clear, covered entity acceptance of such


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        policies is a precondition to receiving 340B pricing. J.A. 128-29. If a

        covered entity does not agree to provide claims data, the order is not

        accepted and there is no 340B pricing for the purchase.          H.B. 1056

        explicitly prohibits a manufacturer from directly or indirectly interfering

        with acquisition or delivery of a 340B priced drug to a pharmacy. Md.

        Code, Health Occ. §12-6C-09.1(c)(1). If the State is conceding its statute

        does not apply based on a requirement that H.B. 1056 must be construed

        not to conflict with federal law, it must also be conceding that any effort

        to enforce H.B. 1056 as to claims data conditions would be preempted.

        Morrisey, 2024 WL 5147643, at *5-7, *11 n.7.

                 In sum, federal law preempts H.B. 1056.

        II.      ABBVIE’S TAKINGS CLAIM IS LIKELY TO SUCCEED ON THE MERITS.

                 The State’s arguments on AbbVie’s takings claim are flawed on

        multiple levels. First, H.B. 1056 does affect a physical taking in the

        plainest terms: it requires AbbVie to transfer its drugs to contract

        pharmacies at steeply discounted prices. Maryland’s law does not merely

        regulate the mode of that transfer—it compels the transfer at a particular

        price.     Second, the voluntary participation doctrine has no place in

        analyzing H.B. 1056 because the State cannot draft off of federal law to



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        immunize a forced transfer of physical property from takings scrutiny.

        Nothing about the 340B Program shows AbbVie signed up for H.B. 1056.

        And even if it did, the State offers nothing that AbbVie does not already

        have. Finally, the State fails to rebut AbbVie’s arguments that H.B. 1056

        constitutes a regulatory taking.

              A.   H.B. 1056 Effects A Physical Taking.

              To avoid the physical transfer that H.B. 1056 compels, the State

        argues that (i) Maryland itself does not take title to the drugs regulated

        under H.B. 1056, (ii) the federal 340B program is what actually

        dispossesses AbbVie of its drugs, and (iii) H.B. 1056 does not technically

        compel direct sales of drugs to contract pharmacies. Each argument fails.

              The State insists that H.B. 1056 does not affect a taking because it

        does not authorize Maryland to “purchase” or “acquire title to” drugs

        manufactured by AbbVie.       Opp. 58.      That does not matter.     The

        government forcing one private party to give its property to another

        private party is just as much a taking as the government keeping that

        same property for itself. Cedar Point Nursery v. Hassid, 594 U.S. 139,

        147-49 (2021). In fact, it is worse: No compensation can validate a




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        government-forced property transfer for private gain. Kelo v. City of New

        London, 545 U.S. 469, 477 (2005).

              The State also says the federal 340B program is what “causes

        AbbVie to be dispossessed of its drugs,” not H.B. 1056. Opp. 59. The

        State says H.B. 1056 does not “dictate the price” of drugs but only

        requires manufacturers to comply with certain delivery instructions.

        Opp. 58. As already explained, that’s a distinction without a difference.

        Section 340B only requires AbbVie to “offer” its drugs for purchase at the

        discounted price, subject to AbbVie’s own reasonable conditions—not

        under any conditions covered entities or contract pharmacies demand.

        See Sanofi, 58 F.4th at 707; Novartis, 102 F.4th at 464. H.B. 1056

        destroys AbbVie’s right to insist on those conditions, and compels AbbVie

        to transfer drugs to unlimited contract pharmacies at the 340B price

        when it otherwise would not.

              The State’s contention, then, that H.B. 1056 “does not compel

        direct, confiscatory sales to private pharmacies” is a red herring. Opp.

        59-60. The realities of the 340B program and plain text of H.B. 1056

        show that the Maryland law does more than merely regulate the

        “delivery” of AbbVie’s drugs: It forces AbbVie to give up drugs that it


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        would otherwise withhold pursuant to its contract pharmacy policies,

        which are entirely lawful under 340B. See Novartis, 102 F.4th at 464. In

        that way, H.B. 1056 plainly “compel[s] drug manufacturers to transfer

        340B drugs to a private party.” Opp. 59-60. Such a blatant forced

        transfer of private party, by which the “government has physically taken

        property for itself or someone else—by whatever means,” is the “clearest

        sort of taking.” Cedar Point, 594 U.S. at 147-49.

              B.   H.B. 1056 Is Not Voluntary.

              The State also argues that AbbVie’s “voluntary participation in the

        340B program” bars any takings claim challenging H.B. 1056.           But

        voluntarily participating in the 340B program does not equal voluntarily

        participating in H.B. 1056.

              None of the State’s cases proves its point. Most involve takings

        challenges to federal conditions imposed as a part of federal programs.

        See Baker Cnty. Med. Servs., Inc. v. U.S. Atty. Gen., 763 F.3d 1274, 1277-

        78 (11th Cir. 2014) (federal Medicare provider challenging requirements

        of federal Emergency Medical Treatment and Active Labor Act

        (EMTALA)); Burditt v. HHS, 934 F.2d 1362, 1376 (5th Cir. 1991) (same);

        Eli Lilly & Co. v. HHS, 2021 WL 5039566 (S.D. Ind. Oct. 29, 2021) (drug



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        manufacturer challenging federal enforcement of 340B provisions);

        Sanofi-Aventis U.S., LLC v. HHS, 570 F. Supp. 3d 129, 207-10 (D.N.J.

        2021) (same); Garelick v. Sullivan, 987 F.2d 913, 916-17 (2d Cir. 1993)

        (anesthesiologists challenging federal price regulations under Medicare

        Part B); Whitney v. Heckler, 780 F.2d 963, 968-72 (11th Cir. 1986) (same);

        St. Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 875-76 (7th Cir. 1983)

        (per curiam) (hospitals challenging federal agency enforcement of federal

        Medicare regulations). These cases do nothing to suggest that voluntary

        participation in a federal regime insulates an additional, onerous set of

        state conditions from challenge.

              Another of the State’s cases involves a takings challenge to state

        conditions imposed as part of a state program. Minnesota Ass’n of Health

        Care Facilities, Inc. v. Minnesota Dep’t of Pub. Welfare, 742 F.2d 442, 446

        (8th Cir. 1984).    That similarly says nothing about whether state

        conditions become voluntary because of ostensible participation in a

        federal program.

              A final case involves a takings challenge to both state and federal

        conditions imposed as part of a joint state and federal program (Medicaid)

        in which plaintiffs voluntarily participated.      Pharmacist Pol. Action


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        Comm. of Md. (PHARMPAC) v. Harris, 502 F. Supp. 1235 (D. Md. 1980).

        But the court in that case held that because “participation in the

        [Medicaid] program is entirely voluntary”—in essence, by choosing to fill

        orders from eligible patients—the pharmacists could not challenge the

        program’s price regulations as a taking. Id. at 1243. Critical was the

        fact that Medicaid is a “cooperative federal-state venture,” id., such that

        participation in the federal program and participation in the state

        program are the same.       But that holding only harms the State’s

        argument:       The State cannot argue that H.B. 1065 simply fills a

        “delivery” gap left by federal law, and at the same time argue that H.B.

        1056 is so inextricably linked to Section 340B that voluntary

        participation in 340B renders H.B. 1056 voluntary as well.

              In support of its voluntary participation argument, the State also

        cites Virginia Hosp. & Healthcare Ass’n v. Roberts, 671 F. Supp. 3d 633

        (E.D. Va. 2023). But that case proves AbbVie’s point. It involved a

        challenge to both state and federal EMTALA regulations brought by

        hospitals participating in Medicare. Because the plaintiff hospitals were

        “opting into receiving” Medicare benefits, the court held that they could

        not pursue a takings claim against the federal government to challenge


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        the financial implications from complying with EMTALA. As to the

        additional state requirements imposed by Virginia on top of those federal

        requirements, the court suggested the analysis was different. Though

        the court ultimately concluded Virginia was immune from suit for

        reasons not applicable here, Maryland again ignores the key distinction:

        voluntary participation in a federal program and compelled participation

        in supplemental state regulation are not the same thing. By participating

        in a federal program and voluntarily subjecting themselves to resulting

        federal regulation, regulated entities do not also consent to any other

        related regulation by state governments (separate sovereigns) and thus

        abandon their property rights once and for all. That cannot be the law.

              The other factors Maryland ignores further underscore why the

        State’s understanding of the voluntary participation doctrine is wrong:

        AbbVie cannot have volunteered for Maryland’s regime unless it receives

        some “valuable [g]overnment benefit” from the State. Horne v. Dep’t of

        Agric., 576 U.S. 350, 366 (2015); Minnesota Ass’n of Health Care

        Facilities, 742 F.2d at 446.   The State can point to no such benefit

        bestowed independently by Maryland apart from those benefits already

        bestowed by the federal government through Medicare and Medicaid. As


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        such, any voluntary benefit by H.B. 1056 is “illusory” and cannot bar a

        takings claim. Valancourt Books, LLC v. Garland, 82 F.4th 1222, 1232

        (D.C. Cir. 2023).6

              C.   Penn Central Does Not Apply, But H.B. 1056 Fails If It
                   Does.

              The regulatory takings doctrine does not apply for all of the reasons

        described above and in AbbVie’s opening brief. See Br. 63-66, 80. H.B.

        1056 effects a physical taking of private property for private purposes; it

        does not merely affect AbbVie’s use of its property. When “possession and

        control” of physical property changes hands—as it does here—the law

        effects a physical taking, not a regulatory taking. Horne, 576 U.S. at 360-

        62.

              Even if Penn Central does apply, its factors cut in AbbVie’s favor,

        and the State has no adequate response.

              To start, the State does not dispute H.B. 1056’s economic impact on

        AbbVie will be severe. Opp. 67; JA178. Instead, the State claims that

        “diminution in the value of property” alone is “insufficient to demonstrate


        6 The State does not respond to AbbVie’s arguments on public use, and

        thus has waived any argument on this point. Stokes v. Stirling, 64 F.4th
        131, 137 (4th Cir. 2023).


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        a taking.” Opp. 66. But H.B. 1056 does much more than merely reduce

        the value of AbbVie’s drugs—it compels their transfer to another private

        party. See U.S. Fid. & Guar. Co. v. McKeithen, 226 F.3d 412, 416-17 (5th

        Cir. 2000).

              As for H.B. 1056’s interference with AbbVie’s investment-backed

        expectations, the State argues it would be “unrealistic for AbbVie to

        assume it would be free from regulation,” given Maryland’s history of

        health and safety regulation. Opp. 67-68. While regulated industries

        may expect some regulatory shifts over time, “that does not mean that all

        regulatory changes are reasonably foreseeable or that regulated

        businesses can have no reasonable investment-backed expectations

        whatsoever.” Cienega Gardens v. United States, 331 F.3d 1319, 1350

        (Fed. Cir. 2003) (emphases omitted). And AbbVie could not have foreseen

        that Maryland would force it to transfer its drugs to unlimited contract

        pharmacies for mere pennies: AbbVie had a policy of limiting transfer of

        340B drugs to contract pharmacies, JA193-194, and that policy was

        consistent with HRSA’s longtime guidance on contract pharmacies,

        which recommended only one contract pharmacy per covered entity. 61

        Fed. Reg. 43549, 43550-43555 (Aug. 23, 1996). Federal courts have also


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        upheld such policies as consistent with Section 340B. Sanofi, 58 F.4th at

        706; Novartis, 102 F.4th at 460-64.

              Finally, the State points to the supposed “myriad public interests”

        underlying the governmental action here. But AbbVie has shown that

        H.B. 1056 benefits commercial pharmacies, not needy patients.            See

        JA123; JA128-129; JA429; JA433; JA446; JA490-493; JA520; JA537;

        JA544-546; JA684; JA692-693; JA896-897. And either way, the character

        of H.B. 1056’s interference with AbbVie’s property rights is significant: it

        errs more toward a permanent invasion, since AbbVie is dispossessed

        entirely of its drugs. Cf. Loretto v. Teleprompter Manhattan CATV Corp.,

        458 U.S. 419, 434-35 (1982).

        III. PHRMA AND NOVARTIS ARE LIKELY TO SUCCEED ON THEIR
             CLAIMS THAT H.B. 1056 VIOLATES THE EXTRATERRITORIALITY
             PRINCIPLES IN THE UNITED STATES CONSTITUTION.

              Maryland     also    cannot     escape     H.B.      1056’s   unlawful

        extraterritoriality. Binding precedent dictates that Maryland may not

        “compel manufacturers and wholesalers to act in accordance with

        Maryland law outside of Maryland.” Ass’n for Accessible Meds. v. Frosh,

        887 F.3d 664, 672 (4th Cir. 2018) (citing Healy v. Beer Inst., Inc., 491 U.S.

        324, 336 (1989)) (AAM). And Maryland cannot evade this precedent here,



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        where the undisputed record shows that the transactions H.B. 1056

        regulates occur beyond the State. Opp. 71-73.

              Further, far from refuting a dormant Commerce Clause violation,

        Maryland’s brief actually confirms that H.B. 1056 is intended to

        “advantage in-state firms” by giving them unique contractual privileges.

        Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 370 (2023). This type

        of economic “ ‘protectionism’ ” is anathema to “the ‘very core’ of [the]

        dormant Commerce Clause”—and forms a separate basis to enjoin the

        law. Id. at 369.

              A.   H.B. 1056 Impermissibly Regulates Conduct Outside
                   Maryland.

              As a starting point, Maryland appears to misunderstand what

        makes a law impermissibly “extraterritorial[]” for purposes of the

        Commerce Clause. AAM, 887 F.3d at 668. Its brief attempts to defend

        H.B. 1056 on the ground that the law “seeks only to regulate conduct that

        impacts Maryland 340B covered entities” and does not “attempt to

        regulate conduct without a nexus to Maryland.” Opp. 72-73 (emphasis

        added). But that is not the standard.

              1.   The extraterritoriality doctrine rests on the fundamental

        idea—affirmed in the Supreme Court’s recent cases—that States lack

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        “inherent . . . authority” to “directly control[ ] commerce occurring wholly

        outside” their borders. Healy, 491 U.S. at 336; see also Pork Producers,

        598 U.S. at 375, 376 n.1 (noting the “territorial limits of state authority

        under the Constitution’s horizontal separation of powers”). Under this

        principle, the existence of a local nexus cannot “validate the law if it

        regulates the out-of-state transactions.” Brown-Forman Distillers Corp.

        v. New York State Liquor Auth., 476 U.S. 573, 580 (1986); see Edgar v.

        MITE Corp., 457 U.S. 624, 642–643 (1982) (Commerce Clause “precludes

        the application of a state statute to commerce that takes place wholly

        outside of the State’s borders, whether or not the commerce has effects

        within the State”). So, when the Court analyzed Maine regulating sales

        of pharmaceuticals in Walsh, it did not ask only if the law benefitted

        Maine residents. 538 U.S. at 669. Rather, the Court concluded that the

        law was permissible because it did “not regulate the price of any out-of-

        state transaction, either by its express terms or by its inevitable effect.”

        Id. (emphasis added).

              Drawing on this caselaw, this Court in AAM explicitly rejected the

        very “nexus” theory Maryland now advocates. AAM, 887 F.3d at 671.

        Reviewing the State’s earlier effort to prohibit manufacturers “from


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        charging an ‘unconscionable’ price” for their drugs, the Court held that

        the State had impermissibly sought to regulate “‘upstream’ sales [that]

        would occur almost exclusively outside Maryland.” Id. at 671, 673. As

        the Court emphasized, “[e]ven if the Act did require a nexus to an actual

        sale in Maryland, it is nonetheless invalid because it still controls the

        price of transactions that occur wholly outside the state.” Id. at 671.

        Regardless of “[a]ny legitimate effects the Act may have [had] in

        Maryland,” the State may not instruct “manufacturers and wholesale

        distributors as to” such transactions. Id. at 672.

              Yet that is exactly what H.B. 1056 seeks to accomplish. By its plain

        terms, H.B. 1056 demands that manufacturers not “deny, restrict . . . or

        otherwise limit the acquisition of a 340B drug”—i.e. one that

        manufacturers offer at “reduced prices”—by pharmacies that serve

        Maryland 340B entities.      Md. Code, Health Occ. §12-6C-09.1(c)(1),

        (a)(1)(4)(i). Thus, the law necessarily dictates what kinds of “prices”

        manufacturers must make available to pharmacies that contract with

        covered entities (because, as explained above, pharmacies already receive

        the same drugs at commercial prices). And because manufacturers sell

        their drugs—and provide any associated price reductions—through


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        national wholesalers and distributors located outside Maryland, H.B.

        1056 by necessity dictates the terms of offers and transactions that take

        place beyond the State. JA038 (¶ 29), JA051 (¶ 66); JA106 (¶ 104); JA403

        (¶ 110).

              All this is fatal to the statute. Unlike the law in Walsh, H.B. 1056

        is not regulating the actual “price for drugs offered to” Maryland

        residents. 538 U.S. at 649. The record shows that pharmacies generally

        identify 340B-eligible patients only after dispensing the drug (at full

        price). JA765-767.

              Nor is Maryland creating an indirect effect on “extraterritorial

        behavior” by regulating a local market. Pork Producers, 598 U.S. at 374;

        see also AAM, 887 F.3d at 672-73 (distinguishing between “‘upstream

        pricing impact of a state regulation’” and laws that “specify the price at

        which goods may be sold beyond Maryland’s borders”).           Rather, by

        dictating how a drug must be sold before it ever arrives at a local

        pharmacy, Maryland has reached outside its borders to directly control

        “upstream pricing and sale of prescription drugs” outside the State.

        AAM, 887 F.3d at 671. Maryland may not do so. Id.




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              2.   Maryland does not engage with any of these issues. Opp. 71-

        72. Although it insists that H.B. 1056 should be presumed not “to reach

        conduct beyond Maryland’s border,” the simple fact is that given the

        nature of pharmaceutical supply chains, it does reach that conduct.

        Further Maryland does not even assert the law is inapplicable to out-of-

        state pharmacies. Its brief simply ignores the uncontested reality that

        both the contractual arrangements and sales—which together result in

        340B pricing being made available to pharmacies—take place between

        out-of-state actors. Id. at 72. But this reality defeats the District Court’s

        view that Maryland did not “set requirements for the terms of out-of-state

        sales.” JA892.

              Further—and just as telling—Maryland ignores the patchwork

        problem resulting from other States’ “analogous restriction[s].” AAM,

        887 F.3d at 673. Following Maryland’s logic, Virginia could impose all

        sorts of requirements—including by mandating that manufacturers

        deliver drugs to Virginia before anywhere else. Plainly, multiple priority

        regimes of this type would be impossible for manufacturers to

        simultaneously accommodate. Yet nothing in Maryland’s brief suggests

        a rule under which such a regime would be legally wanting. And that is


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        a sure sign that Maryland is on the wrong path. The Commerce Clause

        “protects against inconsistent legislation” by prohibiting “the projection

        of one state regulatory regime into the jurisdiction of another State.”

        Healy, 491 U.S. at 336–37.

              B.     H.B. 1056 Is Discriminatory.

              Maryland’s efforts to defend H.B. 1056 also highlight a second

        problem. Eager to paint H.B. 1056 as not extraterritorial, Maryland

        insists that the law seeks to “deter[ ]” conduct that is “detriment[al] [to]

        [Maryland] covered entities.” Opp. 73. But this too is impermissible.

              As Appellants previously detailed, the Commerce Clause does not

        allow States to privilege economic interests of in-state 340B entities and

        their business partners by mandating that those entities receive

        preferential contract terms compared to their out-of-state counterparts.

        Br. 92-93.      This prohibition against economic “protectionism” that

        “‘hoard[s]’ commerce ‘for the benefit of’ in-state” businesses and affiliates

        lies at the “very core” of dormant Commerce Clause jurisprudence. Pork

        Producers, 598 U.S. at 372–73 (citation omitted). Applied appropriately,

        this principle serves to preserve “a national market free from local

        legislation that discriminates in favor of local interests,” the way H.B.



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        1056 seeks to do. C & A Carbone, Inc. v. Town of Clarkstown, N.Y., 511

        U.S. 383, 393 (1994).

              Maryland once again ignores the larger principle—along with the

        supporting details. See Opp. 74. Its brief appears to embrace, rather

        than deny, the protectionist purpose of H.B. 1056. Id. Indeed, Maryland

        makes no effort to rebut the “discriminatory effect” that results. And its

        brief does not even attempt suggest that H.B. 1056 has been sufficiently

        tailored in this regard. See Tennessee Wine & Spirits Retailers Ass’n v.

        Thomas, 588 U.S. 504, 518 (2019) (law must be “narrowly tailored to

        advanc[e] a legitimate local purpose” (internal quotations omitted)).

              Instead, Maryland defends H.B. 1056’s protectionism by claiming

        that it does not discriminate between in-state and out-of-state

        manufacturers. Opp. 72. But neither did the statute in Brown-Forman,

        which “regulate[d] all distillers of intoxicating liquors”—in-state and out-

        of-state ones—“evenhandedly.” 476 U.S. at 579. Yet the Court found the

        law impermissible, explaining that “[e]conomic protectionism is not

        limited to attempts to convey advantages on local merchants” but also

        includes attempts “to give local consumers an advantage over consumers

        in other States.” Id. at 580. So too here. As Appellants detailed, H.B.


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        1056 seeks to advantage in-state hospitals and their contract pharmacy

        partners at the expense of out-of-state firms. Br. 92-93, 95.

              C.   H.B. 1056 Excessively Burdens Interstate Commerce.

              Maryland’s failure to rebut the showing that H.B. 1056 “directly

        regulates or discriminates against interstate commerce” means there is

        no need for “further inquiry.” Brown-Forman, 476 U.S. at 579 (citations

        omitted); see also Star Sci. Inc. v. Beales, 278 F.3d 339, 355 (4th Cir. 2002)

        (same). No further balancing under Pike v. Bruce Church, Inc., 397 U.S.

        137 (1970), can save the statute.

              Notably, Maryland seems to agree. The State’s response pointedly

        refuses to do any meaningful balancing. See Opp. 75. It discounts the

        burden H.B. 1056 imposes on interstate commerce based on its

        categorical (and incorrect) assertion that the law does not regulate extra-

        territorially or “discriminat[e].”    Id.   But, as the State admits, this

        defense is coterminous with its other arguments—and thus fails for all

        the same reasons. Id.

              The State also is wrong as a matter of law to claim that the costs

        manufacturers would incur to comply with H.B. 1056 are not cognizable.

        See, e.g., Yamaha Motor Corp., U.S.A. v. Jim’s Motorcycle, Inc., 401 F.3d



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        560, 572 (4th Cir. 2005) (“significant economic burdens” relevant to the

        Pike analysis); Pork Producers, 598 U.S. at 398 (noting that “Pike found

        both compliance costs and consequential market harms cognizable”

        (Roberts, C.J., dissenting in part)). Those costs are substantial here, and

        made worse by the veritable web of “similar, but not identical” new laws

        across numerous States that Maryland acknowledges. See Opp. 76-77

        (citing   new   laws   in   Arkansas,     Kansas,   Louisiana,   Minnesota,

        Mississippi, and West Virginia).

              Against these real costs, the State posits the tautology that H.B.

        1056 benefits “Maryland 340B” entities’ “use of contract pharmacies”

        against “interfere[nce].” Id. at 76. This formulation is revealing. Framed

        in this way, the State’s interest has nothing at all to do with the “public

        health and welfare” it purports to invoke—not even the expansive kind

        recognized by two justices in Pork Producers.              598 U.S. at 382

        (articulating potential “moral and health interests”) (Gorsuch, J.).

        Rather, the State effectively concedes the basic reality that Appellants

        detailed in their brief: H.B. 1056 seeks to financially benefit Maryland

        entities and their business partners, not “uninsured and underinsured

        Maryland patients.” Br. 95-96. The costs and benefits thus appear both


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        monetizable and not “incommensurable.” Pork Producers, 598 U.S. at

        382 (Gorsuch, J.). And Maryland offers no argument for why weighing

        them favors the State.

                                       *      *     *

              Maryland’s brief itself makes clear that H.B. 1056 both regulates

        the price of drugs beyond Maryland and endeavors to set up a

        preferential market for Maryland entities.        The dormant Commerce

        Clause allows none of that. Maryland “exceed[ed] the inherent limits of”

        its authority when it enacted the law. Healy, 491 U.S. at 336.

        IV.   APPELLANTS HAVE SATISFIED                       THE       REMAINING
              INJUNCTION FACTORS.

              The other injunction factors—irreparable harm, balance of the

        equities, and public interest—all weigh in Appellants’ favor. Opp. 97-

        101. The State presents no compelling arguments to the contrary.

              First, the State warns that enjoining H.B. 1056 would have

        “catastrophic results.” Opp. 78. That warning is misplaced: Enjoining

        H.B. 1056 would simply rewind the status quo back to manufacturers’

        contract-pharmacy policies, which would not, as the State contends,

        “adversely affect the availability of health care and affordable

        medications” for patients of covered entities. Id. In fact, AbbVie’s current

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        policy continues to offer unlimited 340B drugs to covered entities at or

        below the ceiling price. JA193-194. Enjoining H.B. 1056 will change

        none of that.

              Second, the State focuses on the supposed harm to covered entities

        that would result from enjoining H.B. 1056, accusing Appellants of

        seeking to “severely limit covered entities’ ability to benefit from the 340B

        program.” Opp. 78-79. But the benefits received by covered entities are

        only worthwhile if they pass those benefits on to patients. Based on the

        voluminous evidence submitted by Appellants, the answer is plain—on

        balance, H.B. 1056 harms more than helps at-risk patients because the

        reduced drug pricing it claims to be protecting is rarely passed on to

        patients. JA537, JA545. Instead, H.B. 1056 serves to enrich commercial

        pharmacies at manufacturers’ expense.            See, e.g., JA684; JA692-693;

        JA429; JA544-546.

              Third, the State complains that any harm inflicted on Appellants

        is “purely speculative.” Opp. 80. Not so. To begin, the deprivation of

        Appellants’ constitutional rights and injury to Appellants’ property

        interests inflicted by an unconstitutional law inflicts direct and concrete

        harm. See Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th


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        330, 346 (4th Cir. 2021) (en banc).       Even the mere “prospect of an

        unconstitutional enforcement” action under an unlawful regulation

        “supplies the necessary irreparable injury.” Air Evac EMS, Inc. v. McVey,

        37 F.4th 89, 103 (4th Cir. 2022) (citation omitted). The State apparently

        would rather have Appellants subject themselves to enforcement actions

        in Maryland before they could test its constitutionality and enjoin its

        enforcement, but that is a “risk [Appellants] ought not to be required to

        take.” Ex parte Young, 209 U.S. 123, 165 (1908). Even apart from the

        inherent injury inflicted by enforcement of an unconstitutional law,

        Appellants have documented the significant financial harms (in the

        millions) that will inevitably result from H.B. 1056. Br. 99; JA768;

        JA178. And because any award of damages from a future lawsuit would

        be either nonexistent or insufficient to remedy the harm, any damage

        inflicted by H.B. 1056 is irreparable.7



        7 As pointed out in their opening brief, Appellants would be unable to

        recover damages from Maryland even if H.B. 1056 was later found to be
        unconstitutional. The State agreed such an action in federal court would
        be foreclosed by sovereign immunity but declined to say whether
        Appellants could bring a claim for damages in Maryland state court.
        Opp. 80 n.25. Unless they waive it, “States retain immunity from private
        suit in their own courts.” Alden v. Maine, 527 U.S. 706, 754 (1999).


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                                    CONCLUSION
              The district court’s order denying a preliminary injunction should

        be reversed.




        Maryland has waived its sovereign immunity for tort actions brought in
        Maryland courts, and this waiver extends to “state constitutional torts.”
        Lee v. Cline, 384 Md. 245, 265-66 (2004). But even assuming the waiver
        extends to a statutory challenge based on constitutional issues,
        Appellants’ recovery would be limited to $400,000 per claimant. Md.
        Code, State Gov’t §12-104(a)(2)(i).


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         Dated: March 28, 2025                   Respectfully submitted,

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              This brief complies with the type-volume limitation of Federal Rule

        of Appellate Procedure 32(a)(7)(B) and Fourth Circuit Rule 32(b), as

        modified by this Court’s Order Granting Motion to Exceed Length

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                              CERTIFICATE OF SERVICE
              This is to certify that the foregoing brief has been served via the

        Court’s CM/ECF filing system in compliance with Rule 25(b) and (c) of

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        registered counsel of record, and has been transmitted to the Clerk of the

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